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                                                                           u.S.D.C.. Atlanta


                                                                          SEP O7 2022
                     IN THE UNITED STATES DISTRICT CO
                    FOR THE NORTHERN DISTRICT OF GEO
                               ATLANTA DIVISION       L ~{-,l~~~                                -__.

 CATHERINE DANFORTH,                                 Civil Action No.:
                                                     1 :21-cv-04734-LMM-JSA
       Plaintiff,

 V.                                                  JURY TRIAL DEMANDED

 WILSON ELSER MOSKOWITZ
 EDELMAN & DICKER, LLP,

       Defendant.


           BRIEF IN SUPPORT OF MOTION TO VACATE VOLUNTARY
            DISMISSAL AND SET ASIDE SETTLEMENT AGREEMENT

      I.     INTRODUCTION

      This is a fairly simple and straightforward employment case in which Plaintiff

was terminated from her employment with the Defendant. As set forth in the

Complaint and First Amended Complaint, Plaintiff was employed by Defendant as

a paralegal and after the firm learned of her disability, Plaintiff was harassed and

discriminated against before being eventually terminated by Defendant. Plaintiff

subsequently filed a complaint with the Equal Employment Opportunity

Commission and then this lawsuit. The parties held a mediation on February 9, 2022.

Prior to the mediation, Plaintiff informed Defendant through counsel that a condition

of the mediation was that she be told the absolute truth as to why her employment
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was terminated and specifically what she had not done properly. At mediation, the

parties reached an agreement and the case was dismissed via a voluntary dismissal.

Following the mediation, Plaintiff learned additional information that was in conflict

with the information presented by Defendant at mediation. Plaintiff contacted

Defendant a number of times to clarify the discrepancies and was met with no

response. As a result, Plaintiff believes and can prove that Defendant made

misrepresentations of material facts at mediation in order to induce a settlement and

deprive Plaintiff of both the truth and larger financial compensation.

   II.      ARGUMENT AND CITATION TO AUTHORITY

            a. Rule 60(b)(3)

         A plaintiff may voluntarily dismiss an action without a court order by filing:

(i) a notice of dismissal before the opposing party serves either an answer or a motion

for summary judgment; or (ii) a stipulation of dismissal signed by all parties who

have appeared. Fed. R. Civ. P. 4l(a)(l)(A). The dismissal is without prejudice unless

otherwise stated. Fed. R . Civ. P. 4l(a)(l)(B). A voluntary dismissal with prejudice

serves as an adjudication on the merits and thus is a final judgment. Rule 60 provides

relief from a final judgment on various grounds. One of those grounds is outline in

60(b)(3)     as   fraud   (whether    previously   called   intrinsic    or   extrinsic),

misrepresentation, or misconduct by an opposing party. Here the facts are that

Defendant misrepresented material facts to Plaintiff during the course of mediation.
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The problem being that Plaintiff cannot reveal the fraud due to the confidential

nature of the mediation. However, Georgia law provides exceptions to mediation

confidentiality.

          b. Waiver of Mediation Confidentiality

      Under O.C.G.A § 9-17-3, mediation communication is privileged and

excluded from use as evidence. However, O.C.GA. § 9-17-5 provides specific

exceptions to that privilege and is applicable here. Ga. Code § 9-17-5 ("(b) There

shall be no privilege under Code Section 9-17-3 if a court, administrative agency, or

arbitrator finds, after a hearing in camera, that the party seeking discovery or the

proponent of the evidence has shown that the evidence is not otherwise available,

that there is a need for the evidence that substantially outweighs the interest in

protecting confidentiality, and that the mediation communication is sought or

offered in: (1) A court proceeding involving a felony; or (2) Except as otherwise

provided in subsection ( c) of this Code section, a proceeding to prove a claim to

rescind or reform or a defense to avoid liability on a contract arising out of the

mediation.")

      There are five elements to fraud: Brown v. Ragsdale Motor Co., 65 Ga. App.

727, 728 (Ga. Ct. App. 1941) ("( l) that the defendant made the representations; (2)

that at the time he knew they were false (or what the law regards as the equivalent

of knowledge); (3) that he made them with the intention and purpose of deceiving
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the plaintiff; (4) that the plaintiff relied on such representations; ( 5) that the plaintiff

sustained the alleged loss and damage as the proximate result of their having been

made.") Here all five elements are met. Defendant made certain representations at

the time of mediation that were false and Defendant no doubt knew they were false.

Defendant made the statements to induce Plaintiff into a settlement depriving her of

the continuation of the litigation, the truth, and potentially greater financial recovery

or even being made whole. Based upon Defendant's statements, Plaintiff agreed to

a settlement of the case. Due to the settlement and dismissal of the case, Plaintiff has

been deprived of being made whole and also of learning the truth.

       Plaintiff seeks relief from the settlement agreement and the dismissal of the

present case due to the fraud that was perpetrated by Defendant. Plaintiff is unable

to present evidence of the fraud without violating the mediation confidentiality

agreement. Plaintiff requests a hearing to determine the need for the evidence of the

statements made and presented during the mediation .

   III.    CONCLUSION

       No Defendant should be able to obfuscate the truth and escape consequences

for its actions under the clock of confidentiality. The purpose of the Uniform

Mediation Act is to allow parties to freely exchange information in hopes of avoiding

unnecessary costs and burden upon the Court system. To then use that aspect of
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mediation to hide the truth defeats the very intent of the mediation process. That is

what Defendant has done here and Plaintiff has suffered because of that.

      Respectfully submitted this 7 th day of September, 2022 .



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                     CERTIFICATE OF COMPLIANCE

      The undersigned certifies that 14 point Times New Roman font was used for

this pleading and that it has been formatted in compliance with Local Rule 5.l(B).

      Respectfully submitted this 7 th day of September, 2022.


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CATHERINE DANFORTH,                                  Civil Action No.:
                                                     1: 2 l -cv-04 7 34-LMM-JSA
     Plaintiff,

V.                                                   JURY TRIAL DEMANDED

WILSON ELSER MOSKOWITZ
EDELMAN & DICKER, LLP,

     Defendant.


                         CERTIFICATE OF SERVICE

       Plaintiff hereby certifies that the foregoing BRIEF IN SUPPORT OF

MOTION TO VACATE VOLUNTARY DISMISSAL AND SET ASIDE

SETTLEMENT AGREEMENT was served upon the defendant by US MAIL

properly addressed and via electronic mail to noelle.berg@wilsonelser.com and

david.eisen@wilsonelser.com.

       Respectfully submitted this 7 th day of September, 2022.



                                        ~          <==< ~
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